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               August 21, 2020 Notice of Seizure
                         EXHIBIT A
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                                                                                    U.S. Department of Justice

                                                                                    Drug Enforcement Admin istration




Mary S. Wilson
10527 South Michigan Avenue
Chicago, lL 60628


               NOTICE OF SEIZURE OF PROPERTY AND INITIATION OF
                  ADMINISTRATIVE FORFEITU RE PROCEEDI NGS
                            SEIZED PROPERTY IDENTIFYING INFORMATION
            Notice Date: August      21 , 2020             Asset lD Number: 20-DEA-664951
            Notice Letter   lD:   191887 (use lD when searching for assets during online filing)

            Description of Seized Property: $33,783.00 U.S. Currency

            Seizure Date and Location: The asset(s) referenced in this notice lefter were seized on June 25,2020 by
            the DEA at Chicaqo, lllinois.
            Forfeiture Authority: The forfeiture of this property has been initiated pursuant to 21 USC 881 and the
            followino additionalfederal laws: 19 U.S.C. SS 1602-1619. 18 U.S.C. I983 and 28 C.F.R. Parts 8 and 9.

I.   THE GOVERNMENT MAY CONSTDER GRANTING PETITIONS FOR REMISSION OR MITIGATION, WHICH PARDONS
     ALL OR PART OF THE PROPERTY FROM THE FORFEITURE.

     TO REQUEST A PARDON OF THE PROPERTY YOU MUST FILE A PETITION FOR REMISSION OR MITIGATION

     A. What to Fite: You may file both a claim (see section ll below) and a Petition for Remission or Mitigation (Petition).
         lf you file only a petition and no one else files a claim, your petition will be decided by the seizing agency.
     B. To File a Petition: A petition should be filed online or by mailing it via the U.S. Postal Service or a Commercial
        Delivery Service to the Drug Enforcement Administration (DEA), Forfeiture Counsel, Asset Forfeiture Section 8701
        Morrissette Drive, Springfield, VA 22152. lt must be received no later than 1 1:59 PM EST thirty (30) days of your
        receipt of this Notice. See 28 C.F.R. Parts 8 and 9.
     C. Requirements for Petition: The petition must include a description of your interest in the property supported by
        documentation and any facts you believe justify the return of the property and be signed under oath, subject to the
        penalty of perjury or meet the requirements of an unsworn statement under penalty of perjury. See 28 U.S.C. S
        1746.
     D. Petition Forms: A petition need not be made in any particular form but a standard petition form and the link to file
        the petition online are available at https://www.forfeiture.oov/FilinoPetition.htm. lf you wish to file a petition online for
        the assets referenced in the asset list of this letter, please use the Notice Letter lD referenced above.
     E. Supporting Evidence: Although not required, you may submit supporting evidence (for example, title paperwork or
        bank records showing your interest in the seized property) to substantiate your petition.
     F. No Attorney Required: You do not need an attorney to file a petition. You may, however, hire an attorney to
        represent you in filing a petition.
     G. Petition Granting Authority: The ruling official in administrative forfeiture cases is the Forfeiture Counsel. The
         ruling official in judicial forfeiture cases is the Chief, Money Laundering and Asset Recovery Section, Criminal
         Division, Department of Justice. See 28 C.F.R. S 9.1.
     H. Regutations for Petition: The Regulations governing the petition process are set forth in 28 C.F.R. Part 9, and are
         available at www.forfeiture. qov.
     l. Penatties for Filing False or Frivolous Petitions: A petition containing false information may subject the
         petitionerto criminalprosecution under 18 U.S.C. S 1001 and 18 U.S.C. S 1621.
     J. Online Petition Exclusions: lf you cannot find the desired assets online, you must file your petition in writing at the
         address listed above. For more details regarding what assets can be petitioned online, please see the Frequently
         Asked Questions at https://www.forfeiture.qov/FilinoPetitionFAQs.htm.
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Mary S. Wilson                                              Notice of Seizure



II.   TO CONTEST THE FORFEITURE OF THIS PROPERTY IN UNITED STATES DISTRICT COURT YOU MUST FILE A
      CLAIM. lf you do not file a claim, you will waive your ight to contest the foieiture of the asset. Additionally, if no other
      claims are filed, you may not be able to contest the forteiture of this assef rn any other proceeding, ciminal or civil.

      A.   To File a Claim: A claim must be filed to contest the forfeiture. A claim should be filed online or by mailing it via
           the U.S. Postal Service or a Commercial Delivery Service to the DEA, Forfeiture Counsel, Asset Forfeiture Section
           8701 Morrissefte Drive, Springfield, VA22152.
      B.   Time Limits: A claim must be filed within 35 days of the date of this letter; therefore, you must file your claim by
           11:59 PM EST on September 25,2020. See 18 U.S.C. S 983(aX2). A claim is deemed filed on the date received
           by the agency at the address listed above.
      C.   Requirements for Claim: A claim must be filed online or in writing, describe the seized property, state your
           ownership or other interest in the property and be made under oath, subject to penalty of perjury or meet the
           requirements of an unsworn statement under penalty of perjury. See 18 U.S.C. S 983(aX2XC) and 28 U.S.C. S 1746.
      D.   Claim Forms: A claim need not be made in any particular form, but a standard claim form and the link to file the
           claim online are available at https://www.forfeiture.qov/FilinoClaim.htm. See 18 U.S.C. S 983(aX2XD). lf you wish to
           file a claim online for the assets referenced in the asset list of this letter, please use the Notice Letter lD referenced
           above.
      E.    Supporting Evidence: Although not required, you may submit supporting evidence (for example, title papenrork or
            bank records showing your interest in the seized property) to substantiate your claim.
      F.    No Attorney Required: You do not need an attorney to file a claim. You may, however, hire an attorney to
            represent you in filing a claim.
      G.    When You File a Claim: A timely claim stops the administrative forfeiture proceeding. The seizing agency
            fonrards the timely claim to the U.S. Attorney's Office for further proceedings. You may also file a petition for
            remission or mitigation.
      H.    Penalties for Filing False or Frivolous Claims: lf you intentionally file a frivolous claim you may be subject to a
            civil fine. See 18 U.S.C. S 983(h). lf you intentionally file a claim containing false information, you may be subject to
            criminalprosecution. See 18 U.S.C. S 1001.
      l.    lf No Claim is Filed: Failure to file a claim by 11:59 PM EST on September 25,2020 may result in the property
            being forfeited to the United States.
      J.    Online Claim Exclusions: lf you cannot find the desired assets online, you must file your claim in writing and send
            to the address listed above. For more details regarding what assets can be claimed online, please see the
            Frequently Asked Questions at https://www.forfeiture.oov/FilinoClaimFAQs.htm.

III. TO REQUEST RELEASE OF PROPERTY BASED ON HARDSHIP
      A.   Hardship Release: Upon the filing of a proper claim, a claimant may request release of the seized property during the
           pendency of the forfeiture proceeding due to hardship if the claimant is able to meet specific conditions. See 18 U.S.C.
           983(f); 28.C.F.R. S 8.1 5.
      B. To Fite Hardship      Release: The hardship request cannot be filed online and must be in writing. The claimant must
           establish the following:
             . Claimant has a possessory interest in the property;
             . Claimant has sufficient ties to the community to assure that the property will be available at the time of trial;
                 and
             . Government's continued possession willcause a substantial hardship to the claimant.
      C.   Regulations for Hardship: A complete list of the hardship provisions can be reviewed at 18 U.S.C. S 983(0 and 28
           C.F.R. S 8.15. Some assets are not eligible for release.




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